                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                       )
                                                 )
                      Plaintiff,                 )
                                                 )
 v.                                              )            No. 3:07-CR-126
                                                 )            (PHILLIPS/SHIRLEY)
 DANIEL SCHLEBEN,                                )
 JESSE GOINS,                                    )
 CHAD JOHNSON,                                   )
 FIDEL DOMINGUEZ PINEDA,                         )
 BOLIVAR PEREZ CAMACHO,                          )
 TOMMY DEWAYNE BURGER,                           )
 STEPHANIE SCHLEBEN,                             )
 SCOTT DUNCAN,                                   )
 JOE DENNIS SMITH, JR., and                      )
 ANDRES DORANTES SE LA ROSA,                     )
                                                 )
                      Defendants.                )


                                     PRETRIAL ORDER

               This action came before the Court pursuant to a telephone conference on November

 10, 2008 in which Tracee Plowell as counsel for the government; Gregory Isaacs as counsel for

 defendant Daniel Schleben; Donny Young as counsel for defendant Jesse Goins; Joseph Costner and

 Brian Nichols as counsel for defendant Chad Johnson; Mike Whalen as counsel for defendant Fidel

 Dominguez Pineda; Armando Duran as counsel for defendant Bolivar Perez Camacho; Alexander

 Brown as counsel for defendant Tommy Dewayne Burger; James Varner, Jr. as counsel for

 defendant Stephanie Schleben; Dennis Francis as counsel for defendant Scott Duncan; Tommy

 Hindman as counsel for defendant Joe Dennis Smith, Jr.; and Jonathan Wood as counsel for




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 defendant Andres Dorantes Se La Rosa, indicated that this Pretrial Order could be entered without

 the necessity of a formal hearing or pretrial conference.

                                                   I.

                 There are no pending motions in this case.

                                                   II.

                 Trial procedures to be followed in this case are as follows:

                 (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

 the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

 the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

 if the proceedings are unnecessarily prolongated.

                 (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                 (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

 identified as of this time.

                 (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

 problems were identified as of this time.

                 (e) Special Requests for Jury Instructions. If counsel have any special requests

 for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                 (f) Additional Motions. No more motions, other than motions in limine, will be

 allowed to be filed in this cause of action by either side without prior leave of Court to do so, since

 the motion cut-off date has passed. All motions in limine must be filed at least five (5) working days

 before trial. Responses to motions in limine are due at least two (2) working days before trial.

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                (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

 fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

 as possible. Any admissions and stipulations of fact to be used at trial shall be signed by Defendant’s

 attorney and the Defendant and filed at least five (5) working days before trial.

                (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

 Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.

                                                  III.

                This case will be set for trial before the Honorable Thomas W. Phillips and a jury,

 to commence at 9:00 a.m. on February 18, 2009.

                If counsel have any objections to this Pretrial Order, such objection should be taken

 up pursuant to Local Rule 72.4(b), EDTN.

                IT IS SO ORDERED.

                                                         ENTER:


                                                           s/ C. Clifford Shirley, Jr.
                                                         United States Magistrate Judge




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